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    Attorney or Party Name, Address, Telephone & FAX                           FOR COURT USE ONLY
    Nos., State Bar No. & Email Address
    RICHARD W. ESTERKIN (070769)
    MORGAN, LEWIS & BOCKIUS LLP
    300 South Grand Avenue, Suite 2200
    Los Angeles, CA 90071
    Telephone: 213.612.2500
    FAX: 213.612.2501
    E-mail: richard.esterkin@morganlewis.com




        Individual appearing without attorney
        Attorney for: Amazon Logistics, Inc.

                                             UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

    In re:                                                                     CASE NO.: 2:19-bk-14989-WB [Jointly administered with 2:19-bk-
                                                                                                                       14991-WB and 2:19-bk-17997-WB]
                           1                                                   CHAPTER: 11
    SCOOBEEZ, et al.
                                                                                      NOTICE OF MOTION AND MOTION FOR
    Affects:                                                                          RELIEF FROM THE AUTOMATIC STAY
    ! All Debtors
                                                                                              UNDER 11 U.S.C. § 362
    " Scoobeez, ONLY
                                                                                          (with supporting declarations)
    " Scoobeez Global, Inc., ONLY
    " Scoobur LLC, ONLY                                                              (ACTION IN NONBANKRUPTCY FORUM)

                                                                               DATE: 02/04/2020
                                                                               TIME: 10:00 am
                                                                               COURTROOM: 1375.
                                                                Debtor(s).

    Movant: Amazon Logistics, Inc.


1. Hearing Location:
      255 East Temple Street, Los Angeles, CA 90012                                         411 West Fourth Street, Santa Ana, CA 92701
      21041 Burbank Boulevard, Woodland Hills, CA 91367                                     1415 State Street, Santa Barbara, CA 93101
      3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.

1 The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc.
(9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill Boulevard, in Glendale, California 91214.
              This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)     and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court
               rules on that application, you will be served with another notice or an order that specifies the date, time and
               place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


     Date: 01/08/2020                                                              MORGAN, LEWIS & BOCKIUS LLP
                                                                                   Printed name of law firm (if applicable)

                                                                                   Richard W. Esterkin
                                                                                   Printed name of individual Movant or attorney for Movant



                                                                                   /s/ Richard W. Esterkin
                                                                                   _____________________________________________
                                                                                   Signature of individual Movant or attorney for Movant




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    MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO NONBANKRUPTCY ACTION


1. In the Nonbankruptcy Action, Movant is:
    a.         Plaintiff
    b.         Defendant
    c.         Other (specify):

2. The Nonbankruptcy Action: There is a pending lawsuit or administrative proceeding (Nonbankruptcy Action)
   involving the Debtor or the Debtor’s bankruptcy estate:

    a. Name of Nonbankruptcy Action: Oberhauser v. Tomchesson, et al.
    b. Docket number: D-1-GN-XX-XXXXXXX
    c. Nonbankruptcy forum where Nonbankruptcy Action is pending:
       District Court, 261st Judicial District, Travis County, Texas
    d. Causes of action or claims for relief (Claims):
       Negligence, Negligent Supervision, Negligent Hiring and Retention, Gross Negligence, Res Ipsa Loquiter and
       Vicarious Liability
3. Bankruptcy Case History:

    a.         A voluntary      An involuntary petition under chapter                       7        11     12       13
               was filed on (date) 04/30/2019 .

    b.         An order to convert this case to chapter                 7      11     12        13
               was entered on (date)                .

    c.         A plan was confirmed on (date)                            .

4. Grounds for Relief from Stay: Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay to
   proceed with the Nonbankruptcy Action to final judgment in the nonbankruptcy forum for the following reasons:

    a.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate.

    b.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that Movant will retain
               the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under 11 U.S.C. § 523
               or § 727 in this bankruptcy case.

    c.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    d.         The Claims are nondischargeable in nature and can be most expeditiously resolved in the nonbankruptcy
               forum.

    e.         The Claims arise under nonbankruptcy law and can be most expeditiously resolved in the nonbankruptcy
               forum.




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     f.        The bankruptcy case was filed in bad faith.

               (1)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                         commencement documents.
               (2)       The timing of the filing of the bankruptcy petition indicates that it was intended to delay or interfere
                         with the Nonbankruptcy Action.
               (3)       Multiple bankruptcy cases affect the Nonbankruptcy Action.

               (4)       The Debtor filed only a few case commencement documents. No schedules or statement of financial
                         affairs (or chapter 13 plan, if appropriate) has been filed.

     g.        Other (specify):
               See attachment 4(g).


5. Grounds for Annulment of Stay. Movant took postpetition actions against the Debtor.

     a.        The actions were taken before Movant knew that the bankruptcy case had been filed, and Movant would have
               been entitled to relief from stay to proceed with these actions.

     b.        Although Movant knew the bankruptcy case was filed, Movant previously obtained relief from stay to proceed
               in the Nonbankruptcy Action in prior bankruptcy cases affecting the Nonbankruptcy Action as set forth in
               Exhibit.     .

     c.        Other (specify):



6. Evidence in Support of Motion: (Important Note: declaration(s) in support of the Motion MUST be signed
   under penalty of perjury and attached to this motion.)

     a.        The DECLARATION RE ACTION IN NONBANKRUPTCY FORUM on page 6.

     b.        Supplemental declaration(s).

     c.        The statements made by Debtor under penalty of perjury concerning Movant’s claims as set forth in Debtor’s
               case commencement documents. Authenticated copies of the relevant portions of the Debtor’s case
               commencement documents are attached as Exhibit.         .

     d.        Other evidence (specify):



7.        An optional Memorandum of Points and Authorities is attached to this Motion.

Movant requests the following relief:

1. Relief from the stay pursuant to 11 U.S.C. § 362(d)(1).

2.        Movant may proceed under applicable nonbankruptcy law to enforce its remedies to proceed to final judgment in
          the nonbankruptcy forum, provided that the stay remains in effect with respect to enforcement of any judgment
          against the Debtor or property of the Debtor’s bankruptcy estate.

3.        The stay is annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant in the
          Nonbankruptcy Action shall not constitute a violation of the stay.




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4.      The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified, or annulled as to the co-debtor,
        on the same terms and condition as to the Debtor.

5.      The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

6.      The order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of 180
        days, so that no further automatic stay shall arise in that case as to the Nonbankruptcy Action.

7.      The order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without further
        notice

8.      Other relief requested.



Date: 01/08/2020                                                         MORGAN, LEWIS & BOCKIUS LLP
                                                                        Printed name of law firm (if applicable)

                                                                         Richard W. Esterkin
                                                                        Printed name of individual Movant or attorney for Movant



                                                                         /s/ Richard W. Esterkin
                                                                        ___________________________________________________
                                                                        Signature of individual Movant or attorney for Movant




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                             DECLARATION RE ACTION IN NONBANKRUPTCY FORUM
                             Tomas E. Alarcon
I, (name of Declarant)                                                                                                    , declare as follows:

1. I have personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could and would
   competently testify thereto. I am over 18 years of age. I have knowledge regarding (Nonbankruptcy Action) because:

         I am the Movant.
         I am Movant’s attorney of record in the Nonbankruptcy Action.
         I am employed by Movant as (title and capacity):
         Other (specify):

2. I am one of the custodians of the books, records and files of Movant as to those books, records and files that pertain
   to the Nonbankruptcy Action. I have personally worked on books, records and files, and as to the following facts,
   I know them to be true of my own knowledge or I have gained knowledge of them from the business records of
   Movant on behalf of Movant, which were made at or about the time of the events recorded, and which are maintained
   in the ordinary course of Movant’s business at or near the time of the acts, conditions or events to which they relate.
   Any such document was prepared in the ordinary course of business of Movant by a person who had personal
   knowledge of the event being recorded and had or has a business duty to record accurately such event. The
   business records are available for inspection and copies can be submitted to the court if required.

3. In the Nonbankruptcy Action, Movant is:

         Plaintiff
         Defendant
         Other (specify):

4. The Nonbankruptcy Action is pending as:

    a. Name of Nonbankruptcy Action: Oberhauser v. Tomchesson, et al.
    b. Docket number: D-1-GN-XX-XXXXXXX
    c. Nonbankruptcy court or agency where Nonbankruptcy Action is pending:
       District Court, 261st Judicial District, Travis County, Texas

5. Procedural Status of Nonbankruptcy Action:

    a. The Claims are:
       Negligence, Negligent Supervision, Negligent Hiring and Retention, Gross Negligence, Res Ipsa Loquiter
       and Vicarious Liability




    b. True and correct copies of the documents filed in the Nonbankruptcy Action are attached as Exhibit 1                                      .

    c.   The Nonbankruptcy Action was filed on (date) 12/20/2018 .

    d. Trial or hearing began/is scheduled to begin on (date) 06/15/2020 .

    e. The trial or hearing is estimated to require 2-4                  days (specify).

    f.   Other plaintiffs in the Nonbankruptcy Action are (specify):
         Millessa Oberhauser
         Steve Oberhauser



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    g. Other defendants in the Nonbankruptcy Action are (specify):
       Kyle Garrett Tomchesson, Amazon.com, Inc. and Amazon Logistics, Inc.


". Grounds for relief from stay:

    a.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    b.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate,
               except that Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary
               complaint under 11 U.S.C. § 523 or § 727 in this bankruptcy case.
    c.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate. The insurance carrier and policy number
               are (specify):




    d.         The Nonbankruptcy Action can be tried more expeditiously in the nonbankruptcy forum.
               (1)         It is currently set for trial on (date) 06/15/2020 .
               (2)         It is in advanced stages of discovery and Movant believes that it will be set for trial by
                           (date)               . The basis for this belief is (specify):



               (3)         The Nonbankruptcy Action involves non-debtor parties and a single trial in the nonbankruptcy forum
                           is the most efficient use of judicial resources.

    e.         The bankruptcy case was filed in bad faith specifically to delay or interfere with the prosecution of the
               Nonbankruptcy Action.

               (1)         Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                           commencement documents.

               (2)         The timing of the filing of the bankruptcy petition indicates it was intended to delay or interfere with
                           the Nonbankruptcy Action based upon the following facts (specify):




               (3)         Multiple bankruptcy cases affecting the Property include:

                     (A) Case name:
                         Case number:                              Chapter:
                         Date '*+ed:                 "ate %*-$)#,(&%:                                Date dismissed:
                         Relief from stay regarding this Nonbankruptcy Action                      was    was not granted.




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                     1                        Attachment to Motion for Relief from the Automatic Stay
                                                        (Action in Nonbankruptcy Forum)
                     2

                     3            4(g): The claims arise under nonbankruptcy law and can be most expeditiously resolved

                     4   in the nonbankruptcy forum. Also, the claims are insured, are likely fully covered by the

                     5   applicable insurance.

                     6            8: Plaintiffs may proceed under applicable nonbankruptcy law to enforce their remedies

                     7   to proceed to final judgment in the nonbankruptcy forum, provided that the stay remains in effect

                     8   with respect to enforcement of any judgment against the Debtor or property of the Debtor’s

                     9   bankruptcy estate.

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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   COSTA MESA
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                     1                                  CONTINUATION PAGE TO
                                                   DECLARATION OF TOMAS E. ALARCON
                     2

                     3            The plaintiffs in Oberhauser v. Tomchesson, et al. originally sought recovery from the

                     4   driver of the vehicle that collided with their residence (Kyle Garrett Tomchesson) and from

                     5   Scoobeez, Inc. (which allegedly employed Mr. Tomchesson). Following the filing of Scoobeez’s

                     6   petition for relief, plaintiffs filed a third amended petition that included negligence claims against

                     7   Amazon Logistics, Inc. and Amazon.com., Inc. Mr. Tomchesson and Scoobeez are being

                     8   provided with a defense to this action by Scoobeez’s insurer. Plaintiffs’ most recent settlement

                     9   demand was well below the amount of the available insurance. As a result, I believe that there is

                    10   sufficient insurance to pay any judgment that plaintiffs may obtain, or any settlement that may be

                    11   entered into to resolve plaintiffs’ claims.

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                           EXHIBIT 1

                                                               Exhibit 1 -- page 11
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                                                                                      Velva L. Price
                                                                                     District Clerk
                                                                                     Travis County
                            Cause No. D-1-GN-18-007588                            D-1-GN-18-007588
                                                                                  Adrian Rodriguez

 MILLESSA OBERHAUSER &                          §     IN THE DISTRICT COURT
 STEVE OBERHAUSER,                              §
     Plaintiffs,                                §
                                                §
 v.                                             §    261st JUDICIAL DISTRICT
                                                §
 KYLE GARRETT TOMCHESSON,                       §
 AMAZON.COM, INC., AMAZON                       §
 LOGISTICS, INC, & SCOOBEEZ,                    §
 INC.                                           §
      Defendants.                               §      TRAVIS COUNTY, TEXAS


                       PLAINTIFFS’ THIRD AMENDED PETITION


      Plaintiffs Millessa Oberhauser and Steve Oberhauser (collectively, “Plaintiffs”)

file their Third Amended Petition against Defendants Kyle Garrett Tomchesson

(“Tomchesson”), Amazon Logistics, Inc. (“Amazon”), and Scoobeez, Inc. (“Scoobeez”)

(collectively, “Defendants”), and would respectfully show the Court as follows:

               I.     DISCOVERY LEVEL AND RULE 47(C) DISCLOSURE

      1.      Discovery in this case is intended to be conducted under a Level 3

discovery control plan under Texas Rules of Civil Procedure Rule 190.

      2.      Plaintiffs seeks monetary relief over $200,000 but not more than

$1,000,000.

                           II.    JURISDICTION AND VENUE

      3.      This Court has jurisdiction over this matter because the amount sought

is within the jurisdictional limits of this Court.




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        4.      Venue is proper in Travis County pursuant to Texas Civil Practice and

Remedies Code Section 15.002 because the events and omissions giving rise to this

lawsuit occurred in Travis County, Texas.

                                     III.   PARTIES

        5.      Plaintiff Millessa Oberhauser is an individual residing in Travis

County, Texas.

        6.      Plaintiff Steve Oberhauser is an individual residing in Travis County,

Texas.

        7.      Defendant Kyle Garrett Tomchesson is an individual residing in

Montgomery County, Texas. Tomchesson has answered and appeared in this lawsuit.

        8.      Defendant Scoobeez, Inc. is a business incorporated in California doing

business in Texas. Scoobeez has answered and appeared in this lawsuit. Scoobeez

filed Chapter 11 bankruptcy on April 30, 2019 in the Central District of California.

        9.      Defendant Amazon.com, Inc. is a foreign business incorporated in

Washington doing business in Texas. This Defendant was served and answered as

“Amazon Logistics, Inc.,” stating it had been incorrectly referred to as “Amazon.com,

Inc.”

        10.     Defendant Amazon Logistics, Inc. is a foreign business incorporated in

Washington doing business in Texas. This Defendant has answered and appeared in

this lawsuit.




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                                                                       Exhibit 1 -- page 13
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                           IV.   SUMMARY OF PETITION

      11.   This case involves significant property damage to Plaintiffs’ home that

occurred when an Amazon delivery van driven by Defendant Tomchesson, a Scoobeez

employee, crashed into Plaintiffs’ home. The collision could have been avoided if it

was not for Amazon’s and Scoobeez’s grossly negligent business practices. Amazon

hires last-mile delivery companies such as Scoobeez to deliver Amazon packages. At

the time of the collision, Amazon controlled the manner in which Scoobeez drivers,

including Tomchesson, delivered Amazon packages. For example:

            •      Amazon directed the order in which packages were delivered and

                   the routes to each delivery destination.

            •      Amazon controlled the speed at which its packages were

                   delivered, requiring drivers to deliver over 250 packages in a

                   normal nine-hour shift.

            •      Amazon used its own software to monitor the drivers’ progress,

                   and an Amazon dispatcher would contact drivers when they fell

                   behind schedule.

      12.   Amazon’s monitoring and delivery quotas placed extreme pressure on

drivers, including Tomchesson, to deliver an inordinate number of packages within

an impossible amount of time—allotting less than two minutes of delivery time

per package. While Amazon required Scoobeez’s drivers, including Tomchesson, to

deliver Amazon packages as fast as possible, Amazon did not impose any safety

requirements on Scoobeez to ensure packages were delivered in a safe manner.




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                                                                    Exhibit 1 -- page 14
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Amazon’s lack of safety requirements allowed Scoobeez to provide minimal or no

training to its drivers, including Tomchesson, before they began delivering packages

in this pressure packed environment, and to not regularly or randomly drug test its

drivers—even after a collision such as the one that occurred here. Scoobeez also failed

to provide additional compensation to its employees for additional time to deliver

packages because Amazon will not reimburse Scoobeez for the cost of doing business

in a safe manner.    Because of Amazon’s grossly negligent control and business

practices, Amazon predisposed Scoobeez to operate its business in a grossly negligent

manner and required Scoobeez’s drivers,            including Tomchesson,      to   meet

requirements that were unsafe for them to meet. The culmination of Amazon’s and

Scoobeez’s grossly negligent business practices resulted in the collision on June 26,

2018, causing severe damage to Plaintiffs’ home.

                                     V.    FACTS

      A.     THE COLLISION

      13.    On June 26, 2018, Tomchesson drove his delivery van into Plaintiffs’

driveway to deliver an Amazon package. Plaintiffs’ home is located at the bottom of

a steep driveway. The van was facing downhill and towards Plaintiffs’ home when

Tomchesson exited the vehicle to deliver a package to Plaintiffs. After Tomchesson

exited the van, the van rolled down Plaintiffs’ driveway and crashed into Plaintiffs’

home. The van hit Plaintiffs’ home with such force that its airbags deployed and

became lodged in Plaintiffs’ home.




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                        Figure 1 - Photograph of damage to Tomchesson's van




                        Figures 2 - Photograph of van lodged in Plaintiffs’ home.




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      B.      THE POST-COLLISION SCENE

      14.     Plaintiff Millessa Oberhauser arrived at her home soon after the

collision. Tomchesson told Mrs. Oberhauser he was planning on leaving the scene

and placing a note on the van because he had other deliveries to make. Tomchesson

had already called another Scoobeez delivery driver to pick up the remaining

packages in his van. Tomchesson asked Mrs. Oberhauser if he could leave the scene

before the tow truck arrived, but Mrs. Oberhauser insisted he stay to speak with

police and ensure the van was towed away.

      15.     When police arrived at the scene, Tomchesson provided his driver’s

license and certificate of self-insurance.




                           Figure 3 - Kyle Garret Tomchesson's Driver License

Tomchesson told police he was surprised they were not drug testing him to see if he

had been under the influence of drugs or alcohol, to which the investigating officer

replied that drug testing was the responsibility of his employer. Tomchesson also

told police he was not sure if he had placed the van in park or neutral because he was

in a hurry.




                                                   6
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      C.     THE DAMAGES

      16.    After the tow truck removed the van from Plaintiffs’ residence, Plaintiffs

discovered the full extent of the damage to Plaintiffs’ home. The collision caused

significant structural and cosmetic damage to Plaintiffs’ home. The van collided with

the left front corner section of Plaintiffs’ garage. The impact not only destroyed the

brick veneer on the garage, but also caused cracks to the brick on the front and

side of the garage. The impact also damaged the structural frame of the home.




              Figure 4 - Photograph of damages to the front of Plaintiffs’ garage and antifreeze spill




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             Figure 5 - Photograph of damages to the side of Plaintiffs' garage and antifreeze spill




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            Figures 6 & 7 - Photographs of cracks in brick veneer above Plaintiffs' laundry room window




             Figure 8 - Photograph of cracks in brick veneer beneath Plaintiffs' laundry room window


      17.    In addition to the garage and brick damages, the adjoining areas of the

home, including the kitchen, utility room, garage closet, and pantry, have shifted and




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the walls have cracked. Further damage to Plaintiffs’ home includes certain doors not

closing, which is highly unusual because the home has a slab foundation.




             Figures 9 & 10 - Photographs of cracked walls inside Plaintiffs' garage and laundry room




                         Figure 11 - Photograph of cracked walls inside Plaintiffs' garage




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                   Figure 12 - Photograph detailing shift in framing of Plaintiffs' home


      18.   The structural integrity of the exterior load-bearing walls and various

interior walls have been structurally compromised and need repair or replacement.

The full extent of the damage to the home cannot be determined without removal of

masonry veneer, weather penetration barriers, and interior sheetrock.

      D.    AMAZON’S AND SCOOBEEZ’S HAZARDOUS BUSINESS PRACTICES

      19.   Amazon hires last-mile delivery companies such as Scoobeez to deliver

Amazon packages. At the time of the collision, Amazon controlled the manner in

which Scoobeez’s drivers, including Tomchesson, delivered Amazon packages. Upon

information and belief, Amazon directed the order in which packages were delivered



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and the routes to each delivery destination. Amazon controlled the speed at which

its packages were delivered, requiring drivers, including Tomchesson, to deliver over

250 packages in a normal nine-hour shift. Amazon also used its own software to

monitor the drivers’ progress, and an Amazon dispatcher would contact drivers,

including Tomchesson, when they fell behind schedule. Amazon placed enormous

pressure on Scoobeez’s drivers, including Tomchesson, to deliver Amazon packages

as fast as possible regardless of the risk to the safety and welfare of delivery drivers

and Amazon’s own customers. Upon information and belief, Amazon did not impose

any safety requirements on Scoobeez to ensure Scoobeez’s delivery drivers, including

Tomchesson, delivered Amazon packages in a safe manner. Upon information and

belief, Amazon’s and Scoobeez’s business practices included:

             (a)    Allowing their drivers to drive malfunctioning vans that are in

                    disrepair;

             (b)    Not requiring nor incentivizing delivery drivers to watch safety

                    videos;

             (c)    Failing to regularly drug test delivery drivers;

             (d)    Failing to require that their delivery drivers take a drug test

                    following a collision;

             (e)    Not requiring drivers to take lunch breaks;

             (f)    Refusing to provide workers’ compensation benefits;

             (g)    Placing extreme pressure on their delivery drivers to deliver over

                    250 packages per day; and




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               (h)   Requiring drivers to deliver more packages than they safely can

                     during their shifts but refusing to pay their drivers for the

                     additional time that is often required to deliver all of the

                     packages.

      20.      Tomchesson was one of Scoobeez’s drivers on whom Amazon imposed its

undue pressure and unsafe requirements discussed above. Tomchesson was hurried

on the day of the collision because Amazon and Scoobeez required him to deliver an

inordinate number of packages within an impossible amount of time. According to

Tomchesson’s sworn testimony, Amazon and Scoobeez required Tomchesson to

deliver over 250 packages between 9:00 a.m. and 6:00 p.m. If Tomchesson takes a

one-hour break during the day, he would have to deliver a package every 1.92 minutes

to deliver 250 packages before 6:00 p.m. During Tomchesson’s employment, and even

after the collision, Scoobeez failed to drug test Tomchesson to determine whether

Tomchesson might have been under the influence of anything other than the

immense pressure Amazon and Scoobeez places on its drivers.

                                 VI.   CAUSES OF ACTION

      21.      In support of each cause of action, Plaintiffs re-allege the facts as set

forth above.

                         NEGLIGENCE AGAINST TOMCHESSON

      22.      Tomchesson was operating the delivery van in a negligent manner when

the van crashed into Plaintiffs’ home.




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       23.      Tomchesson owed Plaintiffs a duty of ordinary care to operate the van

in a reasonable and prudent manner. Tomchesson breached this duty by leaving the

van on Plaintiffs’ steep driveway without taking the necessary precautions to prevent

the van from rolling down the driveway and crashing into Plaintiffs’ home.

       24.      Among the ways in which Tomchesson breached his duty of ordinary

care include:

                a.    Failing to place the vehicle in park;

                b.    Failing to apply the parking brake;

                c.    Failing to park the vehicle in a location that did not pose a risk of

                      rolling; and

                d.    Failing to turn the van off.

       25.      In fact, Tomchesson acknowledges that he left the van in neutral at the

top of a hill in Plaintiffs’ driveway.

       26.      These failures by Tomchesson, whether taken singularly, or in

combination, constitute negligence and were a proximate cause of Plaintiffs’

damages.

                             NEGLIGENCE AGAINST AMAZON

       27.      Amazon controlled the manner in which Scoobeez’s drivers, including

Tomchesson, delivered Amazon packages and exercised its control in a negligent

manner when the delivery van crashed into Plaintiffs’ home.

       28.      Amazon owed a duty of ordinary care to Plaintiffs to ensure Amazon

packages were delivered in a reasonable manner that would not cause harm to the




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public. Amazon exercised control over the way Scoobeez operated its business and

delivered packages and also exercised control over the means and manner in which

Tomchesson delivered packages on the day of the collision.

      29.   Among the ways in which Amazon failed to ensure Amazon packages

were delivered in a reasonably prudent manner include:

            a.     Amazon placed pressure on Scoobeez’s drivers, including

                   Tomchesson, to deliver an inordinate number of packages in an

                   impossible amount of time.          Amazon’s pressure required

                   Scoobeez’s drivers, including Tomchesson, to deliver more than

                   250 packages per day.       These delivery requirements caused

                   Tomchesson to feel hurried and not take the necessary

                   precautions before exiting his van to deliver a package at

                   Plaintiffs’ home;

            b.     Amazon did not impose safety requirements on Scoobeez to

                   ensure Scoobeez’s drivers, including Tomchesson, delivered

                   Amazon packages in a safe manner;

            c.     Amazon did not require nor incentivize delivery drivers, including

                   Tomchesson, to watch safety videos;

            d.     Amazon did not require regular drug testing for delivery drivers,

                   including Tomchesson;

            e.     Amazon did not require delivery drivers, including Tomchesson,

                   to take a drug test following a collision;




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             f.    Amazon did not require drivers, including Tomchesson, to take

                   any   breaks     throughout   their   shifts    and   their    delivery

                   requirements discouraged drivers from taking any breaks;

             g.    Amazon     did   not   require   Scoobeez      to   provide    workers’

                   compensation benefits to delivery drivers, including Tomchesson;

                   and

             h.    Amazon required drivers, including Tomchesson, to deliver more

                   packages than they could safely deliver during their shifts and

                   did not compensated for the additional time that was often

                   required to deliver all of the packages.

      30.    Amazon’s actions, whether taken singularly, or in combination,

constitute negligence and were a proximate cause of Plaintiffs’ damages.

                         NEGLIGENCE AGAINST SCOOBEEZ

      31.    Scoobeez was operating its business in a negligent manner when the

delivery van crashed into Plaintiffs’ home.

      32.    Scoobeez owed a duty of ordinary care to Plaintiffs to operate its

business in a reasonable manner that would not cause harm to the public.

      33.    Among the ways in which Scoobeez failed to operate its business in a

reasonably prudent manner include:

             a.    Scoobeez placed extreme pressure on their delivery drivers to

                   deliver more than 250 packages per day. It was these demands

                   from Scoobeez that caused Tomchesson to feel hurried and not




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                   take the necessary precautions before exiting his van to deliver a

                   package at Plaintiffs’ home.

             b.    Scoobeez allows its delivery drivers to operate malfunctioning

                   vans.

      34.    Scoobeez’s actions, whether taken singularly, or in combination,

constitute negligence and were a proximate cause of Plaintiffs’ damages.

                    NEGLIGENT SUPERVISION AGAINST AMAZON

      35.    Amazon retained supervisory control over its contractor, Scoobeez, in a

negligent manner when the van crashed into Plaintiffs’ home.

      36.    Amazon owed a duty to Plaintiffs to exercise its supervisory control with

reasonable care to ensure that Scoobeez delivered Amazon packages in a reasonable

manner.

      37.    Among the ways in which Amazon failed to exercise its supervisory

control with reasonable care include:

             a.    Allowing Scoobeez to require its drivers to deliver more than 250

                   packages per day;

             b.    Allowing Scoobeez to deliver packages with malfunctioning vans;

             c.    Failure to require Scoobeez to regularly or randomly drug test its

                   delivery drivers;

             d.    Failing to require Scoobeez to drug test its delivery drivers

                   following a collision; and




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             e.       Failure to require Scoobeez to properly train and supervise its

                      drivers.

      38.    These acts and omissions by Amazon, whether taken singularly, or in

combination, constitute negligent supervision and were a proximate cause of

Plaintiffs’ damages.

                      NEGLIGENT SUPERVISION AGAINST SCOOBEEZ

      39.    Scoobeez supervised their employee, Tomchesson, in a negligent manner

when the van crashed into Plaintiffs’ home.

      40.    Scoobeez employs delivery drivers to deliver Amazon packages to

Amazon customers. Scoobeez owed a legal duty to Plaintiffs to reasonably supervise

its employees in carrying out deliveries. Scoobeez’s breaches of its duty owed to

Plaintiffs include:

             a.       Requiring drivers to deliver more than 250 packages per day;

             b.       Allowing delivery drivers to operate malfunctioning vans;

             c.       Failure to regularly or randomly drug test delivery drivers;

             d.       Failing to require that their delivery drivers take a drug test

                      following a collision;

             e.       Failure to properly train and supervise its drivers; and

             f.       Failure to provide routes on which drivers should deliver assigned

                      packages.




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      41.    These actions and omissions by Scoobeez, whether taken singularly, or

in combination, constitute negligence and were a proximate cause of Plaintiffs’

damages.

              NEGLIGENT HIRING AND RETENTION AGAINST AMAZON

      42.    Amazon’s and Scoobeez’s acts and omissions as set forth in preceding

paragraphs are incorporated herein by reference.

      43.    Amazon negligently hired and retained its contractor, Scoobeez, to

deliver Amazon packages.

      44.    Amazon owed a duty to Plaintiffs to hire and retain its contractor,

Scoobeez, with ordinary care and reasonable inquiry.

      45.    Amazon breached its duty to Plaintiffs because it knew or should have

known Scoobeez was unfit to deliver Amazon packages in a reasonable manner.

      46.    Amazon’s negligent hiring and retention of Scoobeez was the proximate

cause of Plaintiffs’ damages.

                                GROSS NEGLIGENCE

      47.    Defendants’ acts and omissions as set forth in preceding paragraphs are

incorporated by reference.

      48.    Defendants’ acts and omissions, when viewed from Defendants’

standpoint at the time they occurred, involved an extreme degree of risk, considering

the probability and magnitude of the potential harm to Plaintiffs. Defendants had

actual, subjective awareness of the risks associated with the hurried conditions under

which Scoobeez and Tomchesson delivered packages, but proceeded with conscious




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indifference to the rights, safety, or welfare of others, including Plaintiffs.

Accordingly, Defendants’ acts and omissions on the date of the collision constitute

gross negligence and proximately caused Plaintiffs’ damages.

      49.     Defendants’ acts and omissions are sufficient, under Chapter 41 of the

Texas Civil Practices and Remedies Code, to justify the imposition of punitive

damages against the Defendants.

                     RES IPSA LOQUITUR AGAINST DEFENDANTS

      50.     Defendants are liable to Plaintiffs under the doctrine of res ipsa

loquitur.

      51.     The delivery van crashing into Plaintiffs’ home is the type of collision

that would not ordinarily occur in the absence of negligence. And the van that

damaged Plaintiffs’ home was under Defendants’ control and management of

Defendants.

                             VII.   VICARIOUS LIABILITY

      52.     Scoobeez is vicariously liable for the negligent acts and omissions of its

agents and employees, including Tomchesson, under the legal theory of respondent

superior.

      53.     Amazon is vicariously liable for the negligence of Scoobeez and

Tomchesson.     Amazon retained control over the manner in which Scoobeez and

Tomchesson performed the work that caused Plaintiffs’ damages. Amazon exercised

supervisory control over Scoobeez and Tomchesson, controlled the details of their

work to such an extent that they could not perform the work as they chose, and had




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the power to forbid both Scoobeez and Tomchesson to perform the work in the

dangerous manner in which the work was performed.               Amazon, therefore, is

vicariously liable for the negligence of Scoobeez that caused the damages to Plaintiffs.

Amazon is also vicariously liable for Tomchesson’s negligence, which proximately

caused Plaintiffs’ damages.

                                VIII. JURY DEMAND

      54.    Plaintiffs request a trial by jury and tender the appropriate fee with this

petition.

                                        PRAYER

      WHEREFORE Plaintiffs pray that on that final trial, Plaintiffs have:

             1)     A finding that Defendants are jointly and severally liable for

                    Plaintiffs’ damages;

             2)     Damages within the jurisdictional limits of the Court;

             3)     Punitive damages;

             4)     Pre-judgment and post-judgment interest; and

             5)     All other relief in law or in equity to which Plaintiffs show

                    themselves entitled.




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                                             Respectfully submitted,

                                             /s/ Yusuf A. Bajwa
                                             Yusuf A. Bajwa
                                             State Bar No. 24047754
                                             ybajwa@sandersbajwa.com
                                             Erin A. Hudson
                                             State Bar No. 24059978
                                             ehudson@sandersbajwa.com
                                             Lad Z. Stricker
                                             State Bar No. 24110876
                                             lstricker@sandersbajwa.com
                                             SANDERS BAJWA LLP
                                             919 Congress Avenue, Suite 750
                                             Austin, Texas 78701
                                             (512) 535-5220
                                             (512) 270-5111 fax

                                             Attorneys for Plaintiffs




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                             CERTIFICATE OF SERVICE

      This will certify that a true and correct copy of the foregoing document has
been served on this 11th day of September 2019, pursuant to the Texas Rules of Civil
Procedure.

Via E-Service
George “Hal” Parker, gparker@dewhirstdolven.com
Dewhirst & Dolven, LLC
5430 LBJ Freeway, Suite 1200
Dallas, Texas 75240
[Tel.] (970) 214-9698

Attorney for Defendants Tomchesson and Scoobeez

Michael C. Steindorf, Michael.steindorf@nortonrosefulbright.com
Tomas E. Alarcon, tomas.alarcon@nortonrosefulbright.com
Norton Rose Fulbright US LLP
2200 Ross Avenue, Suite 3600
Dallas, Texas 75201
[Tel.] (214) 855-8000
[Fax] (214) 855-8200

Attorneys for Defendant Amazon Logistics, Inc.



                                             /s/ Erin A. Hudson
                                             Erin A. Hudson




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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Morgan Lewis & Bockius, LLP, 300 S Grand Ave Fl 22, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (ACTION IN NONBANKRUPTCY
FORUM) will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 01/08/2020 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

See Service List, Attached.



                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 01/08/2020 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
 Conway MacKenzie, Inc.         Daimler Trust                     Levene Neale Bender Yoo & Brill LLP
 333 S Hope St Ste 3625         c/o BK Servicing LLC              10250 Constellation Blvd Ste 1700
 Los Angeles CA 90071           PO Box 131265                     Los Angeles CA 90067
                                Roseville MN 55113-0011

                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 01/08/2020 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. Julia W. Brand, Suite 1382
U.S. Bankruptcy Court, Roybal Federal Building
255 E Temple St, Los Angeles CA 90012

                                                                                             Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  01/08/2020          Renee Robles
 Date                        Printed Name                                                        Signature




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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Richard T Baum on behalf of Stockholder Rosenthal Family Trust
rickbaum@hotmail.com, rickbaum@ecfinforuptcy.com

Richard W Esterkin on behalf of Creditor Amazon Logistics, Inc.
richard.esterkin@morganlewis.com

John-Patrick M Fritz on behalf of Attorney Official Committee Of
Unsecured Creditors jpf@lnbyb.com,
JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Creditor Committee Official Committee of
Unsecured Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Interested Party Levene, Neale, Bender,
Yoo & Brill L.L.P. jpf@lnbyb.com, JPF.LNBYB@ecf. inforuptcy.com

John-Patrick M Fritz on behalf of Plaintiff Official Committee of Unsecured Creditors of the
Estates of Scoobeez

and Scoobeez Global, Inc.

jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

Riebert Sterling Henderson on behalf of Interested Party Courtesy NEF
shenderson@gibbsgiden.com

Vivian Ho on behalf of Creditor FRANCHISE TAX BOARD
BKClaimConfirmation@ftb.ca.gov

David Brian Lally on behalf of Attorney Grigori Sedrakyan
davidlallylaw@gmail.com

David Brian Lally on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family
Trust UTD

3/25/1988

davidlallylaw@gmail.com

Alvin Mar on behalf of U.S. Trustee United States Trustee (LA)
alvin.mar@usdoj.gov, dare.law@usdoj.gov

Ashley M McDow on behalf of Debtor Scoobeez

amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Ashley M McDow on behalf of Debtor Scoobeez Global, Inc.

amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com



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Ashley M McDow on behalf of Debtor Scoobur LLC

amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Ashley M McDow on behalf of Plaintiff Scoobeez, Inc.

amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc.
smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc. dba Bentley
Financial Services smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Leasing Ltd.
smiller@tharpe-howell.com

Kevin H Morse on behalf of Creditor Avitus Group, Inc.
kmorse@clarkhill.com, blambert@clarkhill.com

Shane J Moses on behalf of Debtor Scoobeez
smoses@foley.com

Shane J Moses on behalf of Plaintiff Scoobeez, Inc.
smoses@foley.com

Akop J Nalbandyan on behalf of Creditor Roy Anthony Catellanos
jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com

Akop J Nalbandyan on behalf of Interested Party INTERESTED PARTY
jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com

Rejoy Nalkara on behalf of Creditor BMW Financial Services NA, LLC, c/o AIS
Portfolio Services, LP rejoy.nalkara@americaninfosource.com

Anthony J Napolitano on behalf of Creditor Hillair Capital Management LLC
anapolitano@buchalter.com,
IFS_filing@buchalter.com;salarcon@buchalter.com

David L. Neale on behalf of Attorney Official Committee Of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Creditor Committee Official Committee of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill
L.L.P. dln@lnbyb.com

Aram Ordubegian on behalf of Interested Party Courtesy NEF
ordubegian.aram@arentfox.com




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Hamid R Rafatjoo on behalf of Creditor Shahan Ohanessian
hrafatjoo@raineslaw.com,
bclark@raineslaw.com;cwilliams@raineslaw.com

Gregory M Salvato on behalf of Creditor Azad Baban

gsalvato@salvatolawoffices.com,

calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf. inforuptcy.com

Gregory M Salvato on behalf of Interested Party INTERESTED PARTY
gsalvato@salvatolawoffices.com,

calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf. inforuptcy.com

Jeffrey S Shinbrot on behalf of Creditor Shahan Ohanessian
jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com

Steven M Spector on behalf of Creditor Hillair Capital Management LLC
sspector@buchalter.com,
IFS_efiling@buchalter.com;salarcon@buchalter.com

United States Trustee (LA)
ustpregion16.1a.ecf@usdoj.gov

Kimberly Walsh on behalf of Creditor Texas Comptroller of Public
Accounts bk-kwalsh@texasattorneygeneral.gov

Eric D Winston on behalf of Creditor Hillair Capital Management, LLC
ericwinston@quinnemanuel.com

Eric K Yaeckel on behalf of Creditor Arturo Vega
yaeckel@sullivanlawgroupapc.com

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Armory Securities, LLC

Conway MacKenzie, Inc.
333 S Hope St Ste 3625
Los Angeles, CA 90071

Daimler Trust
c/o BK Servicing, LLC
PO Box 131265
Roseville, MN 55113-0011

Force Ten Partners, LLC

Levene Neale Bender Yoo & Brill LLP
10250 Constellation Blvd Ste 1700
Los Angeles, CA 90067




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